CM:leId@o§)Mc@-MU§H€QI§MPMT
EA$TEZN bazeme o»= Am<msng/ _ SFl
WE~$TE/w orv.rs.ro~ `

 

G`WN \°Aw. bmw
V *|`~ Np (`»\/ 00037~1<8»8

KA£H BELVE`.,¢+ A\. _ be€£~m~`ls

ODENnvm oumI/vT

|. Pla;n-}.'FP: P¢¢S¢hlr 'g\¢.¢@ @F~Lon¢,`nm¢,,+,'s ¢+

U&r~\£ COW‘»+»/ O¢‘+tn'an F¢.L;'¢"})r 409 S §?""‘§+ ArkAA¢/f$/»/$
Ar)` 7,4,;;,, le'm‘FF was r¢+~»¢~,,»,¢+» -)‘A»`s names F¢b~.»\,y

\0*".201!.

a. PlA;.~H¢P was p\c.¢,¢,>( en ¢. b¢a_z/Dcz)u.»+o,~v€/zh

+9 ‘\Avc A comp¢+é fmc/th luq+»’or\ b +\r\e rc_?y¢§+oF%/b//c.d€€’/ID€/Z
'r`.‘m+)“, hamm w;+k».» +k¢ pl¢,,.\+.'FFs k»@¢.)h' j¢, p/<.,‘,,.¢,'/-/.~
was H¢M Po¢` Yman+)'~q amfan K¢\n\ 66|\)¢: kad¢. red P 5,‘¢¢‘4»,
Do ¢~,. ¢gmlp¢hr~u/ @,u'¢, ,\/q+¢`on wl»\\`c‘\ F /A¢'n }¢`FI£ p&§$¢¢( 4”6/
wm rp+v mud 40 CC,DF.
3` ()Iw’,\l..’FF w¢\§ 4',~.,'*¢`4(/7 3\/¢,,\/¢,'1[¢5" by 02 S+VW[GI\¢.§UAD

knifin W~m( §rJ Paf"}\/ l‘nl£ofM¢-yl¢`m. nm+ waj q !/ unfn./P

` ` ~'~l. ph*.`r\-}»'FF Hr»$ ¢J| 60 0/‘)'1'” l%wmm }57¢»-'»1" '
` \»J:“ §}\0¢¢? dash-wpp HA$ VW+UUC` El/E; bfok¢l‘*+l"*€ L¢'LJ 4”°(
kn$Ne.vcr £Mj ¢.m, m¢¢}¢,l zllm§$c§. mm`n-}»'PFT.`N aJm,-+¢I/ _

eg|-\`.`b',\}';+ r»¢¢'\/¢ d summary Fvc/j£mcn f 5 ,',, d ¢ m / 1/

\Tvr/~ EM“’A_ h_

